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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2022

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-614
JOSHUA LOPEZ, : GRAND JURY ORIGINAL
Defendant. : ,
VIOLATIONS:

: 18 U.S.C. §§ 2251(a) and (e)

: (Sexual Exploitation and Attempted

: Sexual Exploitation of a Child)

: 18 0U.S.C. § 2252(a)(2)

: (Distribution of Child Pornography)
FORFEITURE: 21 U.S.C. § 853(p),
18 U.S.C. § 2253

INDICTMENT

The Grand Jury Charges that:
COUNT ONE

On or about and between, September 7, 2021 and September 22, 2021, within the District
of Columbia and elsewhere, the defendant, JOSHUA LOPEZ, did, and attempted to, employ,
use, persuade, induce, entice, and coerce a minor, specifically Minor Victim 1, to engage in
sexually explicit conduct for the purpose of producing any visual! depiction of such conduct,
knowing and having reason to know that such visual depiction would be transported and
transmitted using any means and facility of interstate and foreign commerce and in and affecting

interstate and foreign commerce, and the visual depiction has actually been transported and
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transmitted using any means and facility of interstate and foreign commerce and in and affecting
interstate and foreign commerce.

(Sexual Exploitation and Attempted Sexual Exploitation of a Child, in violation
of Title 18, United States Code, Sections 2251(a) and (e))

COUNT TWO

 

On or about September 22, 2021, within the District of Columbia and elsewhere, the
defendant, JOSHUA LOPEZ, did knowingly distribute, any visual depiction, using any means
and facility of interstate and foreign commerce, and that has been transported in and affecting
interstate and foreign commerce by any means including by computer, and the production of such
visual depiction involves the use of a minor engaging in sexually explicit conduct and such visual
depiction is of such conduct.

(Distribution of Child Pornography, in violation of Title 18, United States Code,
Section 2252(a)}(2))

FORFEITURE ALLEGATION

 

1. Upon conviction of the offenses alleged in Counts One and Two of this Indictment, the
defendant, JOSHUA LOPEZ, shall forfeit to the United States: (1) any visual depictions described in Title
18, United States Code, Sections 2251, 2251A, 2252, 2252A, or 2260, or any book, magazine, periodical,
film, videotape, or other matter which contains any such visual depiction, which was produced,
transported, mailed, shipped or received in violation of Chapter 110 of the United States Code; (2) any
property, real or personal, constituting or traceable to gross profits or other proceeds obtained from such
offense; and (3) any property, real or personal, used or intended to be used to commit or to promote the
commission of such offense or any property traceable to such property, pursuant to Title 18, United States
Code, Section 2253.

2. If any of the property described above as being subject to forfeiture, as a result of
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any act or omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property that cannot be divided
without difficulty;

the defendant shall forfeit to the United States any other property of the defendant, up to the value
of the property described above, pursuant to 21 U.S.C. Section 853(p).
‘(Criminal Forfeiture, pursuant to Title 18, United States Code, Section 2253, and Title

21, United States Code, Section 853(p))

’ A TRUE BILL

FOREPERSON

Patthens FO, annttgl IA.

Attorney of the United States
and for the District of Columbia
